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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


STEPHANIE LUKIS, individually and on
behalf of all others similarly situated,

               Plaintiff,                        No. 1:19-cv-04871

v.                                               Judge Gary Feinerman

                                                 Mag. Judge Jeffrey Gilbert
WHITEPAGES, INC.,

               Defendant.


                   WHITEPAGES, INC.’S REPLY IN SUPPORT
       OF ITS MOTION TO DISMISS OR TRANSFER BASED ON ARBITRABILITY
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I.       INTRODUCTION
         Lukis opposes Whitepages’ Motion to Dismiss or Transfer Based on Arbitrability (ECF 90

(the “Motion for Arbitration”) on only one ground: that Whitepages purportedly failed to timely

assert its arbitraiton rights. Thus, the only disputed issue is whether Whitepages waived its

arbitration agreement by filing the Motion for Arbitration within seven days of learning that

Lukis’s lead counsel, Roberto Costales, accepted the Terms on Lukis’s behalf. Although that issue

is properly for the arbitrator to decide, there was no waiver in this case, where Whitepages acted

with remarkable speed upon discovering the necessary factual predicate for arbitration.

Additionally, Lukis has forfeited and conceded numerous key issues related to Whitepages’

Motion for Arbitration by failing to address them in her response, inlcuding that Lukis’s counsel

bound Lukis to the Terms while acting as her agent, that Lukis herself accepted the Terms through

her use of Whitepages’ Web site, and that her claims fall within the scope of Whitepages’

arbitration provision (which is an issue for the arbitrator, anyway). But even if those arugments

were not forfeited and could be analyzed by the Court, each supports a finding that Lukis’s claim

is arbitrable (and she waived class relief) for the reasons set forth below.

II.      ARGUMENT

         A.     The arbitrator, not the Court, should decide whether Whitepages waived its
                right to arbitrate Lukis’s claim.

         Lukis argues that “courts around the country have almost unanimously held that litigation

conduct which forfeits the right to arbitration is an exception to [delegation] clauses” and should

be decided by the Court, rather than the arbitrator. (ECF 103 at 5.) That assertion is incorrect in

several respects. Not only is there is a well-recognized Circuit split on this issue that the Seventh

Circuit has never squarely addressed, but several of the cases cited by Lukis did not even analyze

a delegation clause in the arbitration agreement and thus cannot support Lukis’s gross over-



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statement. Based on the broad delegation clause in Whitepages’ arbitration agreement, the issue

of waiver in this case is for the arbitrator to decide.

        Despite seemingly clear directives from the Supreme Court, the law on this issue is

unsettled. The Supreme Court has twice recently held that issues related to waiver of arbitration

are presumptively for the arbitrator to decide. Howsam v. Dean Witter Reynolds, Inc., 537 U.S.

79, 84-85 (2002) (holding that “‘procedural’ questions are presumptively not for the judge, but for

the arbitrator, to decide,” including “waiver, delay, or a like defense to arbitrability”); BG Group

plc v. Republic of Arg., 572 U.S. 25, 34-35 (2014) (reaffirming that claims of “waiver, delay, or a

like defense to arbitrability” are presumptively for the arbitrator). Nevertheless, a Circuit split has

developed regarding whether waiver specifically through litigation conduct is presumptively for

the arbitrator. Compare Marie v. Allied Home Mortg. Corp., 402 F.3d 1, 15 (1st Cir. 2005);

Ehleiter v. Grapetree Shores, Inc., 482 F.3d 207, 222 (3d Cir. 2007); and Vine v. PLS Fin. Servs.,

Inc., 689 Fed. Appx. 800, 804 (5th Cir. 2017) (each holding that litigation conduct waiver was

properly decided by the court) with Nat’l Am. Ins. Co. v. Transamerica Occidental Life Ins. Co.,

328 F.3d 462, 466 (8th Cir. 2003) (holding that litigation conduct waiver is for the arbitrator). The

Seventh Circuit has not directly addressed this issue in light of Howsam and BG Group and has

provided inconsistent guidance regarding a waiver defense to arbitration. The Seventh Circuit has

in one instance cited Howsam’s holding that questions related to waiver are for the arbitrator, see

Lumbermens Mut. Cas. Co. v. Broadspire Mgmt. Servs., 623 F.3d 476, 480 (7th Cir. 2010), and in

others performed the waiver analysis itself without mentioning Howsam. See Kawasaki Heavy

Indus. Ltd. v. Bombardier Rec. Prods., Inc., 660 F.3d 988, 993-98 (7th Cir. 2011); Cooper v. Asset

Acceptance, LLC, 532 Fed. Appx. 639, 641-42 (7th Cir. 2013). Courts in this district have also

struggled with the issue. See, e.g., Dental USA, Inc. v. Beak & Bumper, LLC, 2014 WL 683709,



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at *4 n.6 (N.D. Ill. Feb. 21, 2014) (noting the Seventh Circuit’s silence on this circuit split).

       But even if the question of litigation conduct waiver is presumptively for the Court, the

parties may delegate waiver issues to the arbitrator. See Henry Schein, Inc. v. Archer & White

Sales, Inc., 139 S. Ct. 524, 531 (2019) (“when the parties’ contract delegates the arbitrability

question to an arbitrator, the courts must respect the parties’ decision”). Whitepages’ arbitration

provision delegates to the arbitrator all threshold issues of arbitrability. It provides:

     THE ARBITRATOR WILL DECIDE ALL THRESHOLD QUESTIONS INCLUDING
     BUT NOT LIMITED TO, ISSUES RELATING TO THE ENFORCEABILITY,
     REVOCABILITY, OR VALIDITY OF THIS SECTION 12.10 AND WHETHER
     EITHER PARTY LACKS STANDING TO ASSERT THEIR CLAIMS

(ECF 90-1 at Ex. 1 § 12.10 (the “Terms”).) This broad delegation clause clearly and unmistakably

includes questions as to litigation conduct waiver. For example, in CMS Inv. Holdings, LLC v.

Castle, 2016 WL 4557115, at *5-6 (S.D.N.Y. Aug. 31, 2016), the parties’ arbitration agreement

incorporated a JAMS arbitration rule that gave the arbitrator authority to decide disputes

concerning the “validity” of the arbitration agreement. The court held that “an objection to

arbitrate on waiver grounds goes ‘to the validity of the arbitration agreement’” and thus “the parties

clearly and unmistakably submitted to the arbitrator’s authority the question of whether [plaintiff]

waived its right to arbitrate by engaging in prior litigation.” Id. at *6 (citing Republic of Ecuador

v. Chevron Corp., 638 F.3d 384 (2d Cir. 2011) (which held that delegation of disputes over the

“validity” of the agreement reserved for the arbitrator disputes concerning waiver by conduct in a

separate litigation). Likewise, here, Whitepages’ Terms delegate to the arbitrator all issues related

to the “enforceability, revocability, or validity” of the agreement. (Terms at § 12.10.) Regardless

of whether the Court should “presumptively” decide issues related to litigation conduct waiver,

the parties’ clear delegation of that issue to the arbitrator rebuts and negates that presumption.

       For those reasons, the authority cited by Lukis is inapposite. Neither of the two Northern


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District of Illinois cases analyzed an agreement with a delegation clause. See MB Fin., Inc. v.

Hart, 2019 WL 316869, at *3 (N.D. Ill. Jan 24, 2019); Banc of Am. Sec. LLC v. Indep. Tube Corp.,

2010 WL 1780321, at *6 (N.D. Ill. May 4, 2010). They do not apply here, where Whitepages and

Lukis agreed to delegate to the arbitrator “all threshold questions,” which include without

limitation “issues relating to the enforceability, revocability, or validity” of the arbitration

provision. (Terms at § 12.10 (emphasis added).) That provision also is distinguishable from the

delegation clauses in Marie, 402 F.3d at 14-15 (an agreement delegating only “disagreements

concerning the interpretation or application” of the arbitration agreement, including “the

arbitrability” of a claim, which did not include waiver issues), Ehleiter, 482 F.3d at 221-22

(delegation of “the issue of arbitrability of any claim” did not include waiver), and Vine, 689 Fed.

Appx. at 804 (holding that arbitration of “any claim or attempt to set aside this Arbitration

Provision” did not encompass waiver). Each of those agreements entailed narrower delegation

clauses not analogous here.

        As described further infra, Section II.B, Whitepages did not waive its right to arbitrate by

seeking to enforce its Terms seven days after discovering that Lukis’s claim was arbitrable. But

regardless, the issue is for the arbitrator, not the Court, to decide.

        B.      Whitepages did not waive its right to enforce its arbitration agreement.

                1.      Whitepages’ Motion for Arbitration, filed seven day after its discovery
                        of Mr. Costales’s conduct, was not untimely.

        Even if the Court were allowed to decide the waiver issue, Whitepages acted diligently and

expeditiously in asserting its arbitration rights. The relevant period of purported delay is the seven

days between October 20, 2020, when Whitepages’ first discovered the full scope of Mr. Costales’s

activity on Whitepages.com, and October 27, 2020, when Whitepages filed its Motion for

Arbitration on October 27, 2020. (ECF 90 at 3-5.) Seven days, during which there was no activity


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in this case, is plainly insufficient to constitute conduct inconsistent with a desire to arbitrate.

        Lukis argues that the relevant period for the waiver analysis is the three-month period from

July 23, 2020, when Mr. Costales filed his declaration (ECF 77-1 (the “Costales Declaration”)), to

October 27, 2020, when Whitepages filed its Motion for Arbitration. (ECF 103 at 2.) That

argument fails because the Costales Declaration is vague and ambiguous as to what Mr. Costales

did on Whitepages.com. 1 Besides proclaiming that he “interacted with” and “comprehensive[ly]

reviewed” Whitepages’ Web site, Mr. Costales provides no factual detail about what he did. That

ambiguity was perpetuated by Mr. Costales’s citation to only the information about

Whitepages.com contained in the screenshots produced by Whitepages. (See ECF 77-1 at ¶¶ 5-6

(citing exclusively to the Whitepages’ production for each paragraph analyzing the information

behind the paywall)). Thus, Lukis’s argument that Whitepages should have known the extent of

Mr. Costales’s conduct because “the declaration describes information only available behind the

paywall” badly mischaracterizes the Costales Declaration. (ECF 103 at 2.) The most sensible

reading of those Paragraphs is that Mr. Costales did not go past the paywall, but instead relied on

Whitepages’ production to inform his declaration. The Costales Declaration is insufficient to have

put Whitepages on notice of a duty to search for information related to Mr. Costales’s actions.

        Further, even assuming Whitepages could have discovered on July 23, 2020, that Lukis’s

claims were potentially arbitrable, Whitepages’ litigation conduct between then and the filing of

its Motion for Arbitration was not sufficient to waive its right to enforce the arbitration agreement.

Whitepages took no action during that time except to file its reply in support of its motion for

summary judgment according to the Court-ordered briefing schedule (ECF 79-80), issue written



1
 As explained in Whitepages’ Opposition to Lukis’s Motion for Leave to Amend, the Costales
Declaration was seemingly drafted to conceal the full extent of his activity. (ECF 125 at 10-11.)

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discovery requests as ordered by the Court over Whitepages’ frequent objections, and jointly move

for the entry of an agreed protective order to govern that discovery. (ECF 84.) That conduct is

simply insufficient to constitute a blanket waiver of Whitepages’ right to enforce an agreement to

arbitrate. See Hoenig v. Karl Knauz Motors, Inc., 983 F. Supp. 2d 952, 965 (N.D. Ill. 2013)

(holding that a three-month delay in seeking to compel arbitration, during which the defendant

filed an initial answer that did not invoke arbitration, issued a Rule 68 offer of judgment,

participated in the filing of a joint status report, and participated in initial discovery, did not waive

the right to arbitrate); see also Sharif v. Wellness Int’l Network Ltd., 376 F.3d 720, 727 (7th Cir.

2004) (holding that eighteen month-delay in bringing motion to compel arbitration, during which

the defendant filed four motions to dismiss, did not waive arbitration). 2

          Cuing off of the Court’s reference to Smith v. GC Servs. Ltd P’ship, 907 F.3d 495 (7th Cir.

2018) during the November 3, 2020 hearing (Ex. A at 18:16-21), Lukis relies exclusively on that

decision to argue that Whitepages waived its right to enforce its arbitration agreement. Smith is

inapplicable here and in fact illustrates why Whitepages should not be found to have waived

arbitrability. In Smith the defendant was a “sophisticated debt collection agency” hired by

Synchrony Bank to collect an outstanding credit card balance. Smith, 907 F.3d at 497, 500. The

defendant did not assert any arbitrability defense for eight months after the suit was filed and then

waited another five months after first raising the issue before filing its motion to compel arbitration.

Id. at 497, 500 (finding that defendant sent a letter to the plaintiff notifying her of the arbitration

agreement on March 10, 2017, but did not file a motion to compel arbitration until August 7, 2017).

That egregious timeline alone is sufficient to distinguish Whitepages’ conduct in this case.

          Additionally, despite regularly seeking to enforce card agreements on behalf of financial


2
    Neither party argued in Hoenig or Sharif that the waiver issue should be decided by the arbitrator.

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institutions, the defendant in Smith argued that it did not initially raise arbitrability because it did

not have a copy of the credit card agreement containing the arbitration provision from Synchrony

Bank. Id. at 500. The court found that argument implausible based on the defendant’s experience

with debt collection, particularly because “credit card agreements routinely include arbitration

agreements” and are “commonplace.” Id. The court further held that, even ignoring the initial

eight-month delay, the defendant’s inaction for another five months after purportedly discovering

the arbitration agreement was inexcusable. Id. During that time the defendant filed an answer that

did not raise arbitrability as a defense and failed to supplement the briefing on the pending motions

to dismiss and for class certification to assert arbitrability. 3 Id. Thus, the defendant’s collective

conduct over those 13 months was “manifestly inconsistent with an intention to arbitrate.” Id.

        Here, Whitepages always recognized that its Terms contained an arbitration provision and

timely asserted arbitrability as an affirmative defense in its Amended Answer on June 3, 2020.

(ECF 59.) At that time, Whitepages had no evidence that Lukis had visited Whitepages.com, and

her counsel had not yet gone beyond the pay wall. As soon as Whitepages learned the extent of

Mr. Costales’s actions, it moved to compel arbitration within seven days of that discovery.

Whitepages’ actions bear no similarities to the defendant’s dilatory conduct in Smith.

        Next, Lukis misconstrues Whitepages’ objections to Lukis’s discovery requests as

evidence Whitepages was “on notice” of Mr. Costales’s conduct. In the referenced discovery,

Lukis asked Whitepages to describe and produce “copies” or “exemplars” of Whitepages’ publicly



3
  To be sure, Whitepages’ also had several motions pending when it discovered Lukis’s claims
were arbitrable. (See ECF 40, 43, and 61.) But as Whitepages explained in its Motion for
Arbitration, Whitepages was set to request that the Court enter and continue those motions when
Whitepages moved regarding arbitration. By sheer coincidence, the Court issued its ruling on
Whitepages’ Motion for Summary Judgment literally minutes before Whitepages filed its motion.
(ECF 90 at 2 n.1.) That unfortunate timing is not a basis to assign undue delay to Whitepages.

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available Web site. 4 (ECF 103-2 at ROG 7, RFPs 8-10.) The requests simply do not make sense,

and Whitepages properly asserted numerous objections related to their vagueness, ambiguity,

relevance, burden, and disproportionality to the factual issues in this case. Whitepages also

objected to producing arbitrary “copies” or “exemplars” of its Web site because those pages are

“publicly available and equally available to Plaintiff.” (Id.) To further explain that objection,

Whitepages cited Mr. Costales’s purported interaction with the site as an example of Lukis’s ability

to access the requested information.       Whitepages’ objections are in no way evidence that

Whitepages should have known that Mr. Costales purchased several products from Whitepages.

        Lukis similarly argues that Whitepages’ discovery requests related to the scope of Lukis’s

use of Whitepages.com are evidence that Whitepages was “well-aware” that Mr. Costales went

beyond the paywall. (ECF 103 at 3-4.) Claiming it inconceivable that Whitepages had the

“presence of mind” to seek discovery about a potential defense, Lukis argues that Whitepages must

have “willfully delayed making its arbitrability motion.” (Id. at 4.) This argument is nonsensical,

as the very purpose of discovery is to learn facts that are not already known to the propounding

party. Indeed, Whitepages also had the “presence of mind” to assert an affirmative defense related

to arbitrability as early as June 3, 2020, because Whitepages was aware of this potential legal issue,

not because Whitepages knew the full extent of Lukis’s or her counsel’s use of Whitepages.com.

        Whitepages’ conduct was not “inconsistent[] with the right to arbitrate.” Smith, 907 F.3d

at 499. Lukis’s argument rests on an unsupported theory that Whitepages had an ongoing duty to


4
  Lukis attached the incorrect version of Whitepages’ discovery responses to its Opposition. (ECF
103-2.) In response to the parties’ September 9, 2020 telephonic meet-and-confer about Lukis’s
discovery requests, Whitepages supplemented its discovery responses on September 16, 2020, to
resolve certain issues raised by Lukis’s counsel during that conference. Lukis never conferred
with Whitepages about Requests for Production 8-10, nor did Lukis seek any relief from the Court
related to Whitepages’ objections to Interrogatory 7, which Lukis now inappropriately and
pejoratively mischaracterizes as attempts to “evade discovery.” (ECF 103 at 3.)

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search its records for conduct by an agent of Lukis and immediately move to compel arbitration

upon a relevant discovery. The law imposes no such obligation and, given the circumstances and

timeline described above, Whitepages’ Motion for Arbitration was filed remarkably quickly.

               2.      Lukis will not be prejudiced by proceeding with her claim in
                       arbitration, as she agreed to do.

       Although prejudice is not required for a finding of waiver, Lukis asserts that she will be

prejudiced by the enforcement of her arbitration agreement because she previously prevailed on

Whitepages’ motion to dismiss and its early motion for summary judgment. (ECF 103 at 5.) Lukis

misconstrues the Court’s prior rulings. In denying Whitepages’ motion to dismiss, the Court

merely held under Rule 12 that Lukis had adequately stated a claim. That ruling did not decide

any legal issues related to this case or forecast Lukis’s success on the merits, as Lukis now seems

to believe. (See ECF 37 at 19-23 (repeatedly limiting the holding to the pleadings and the early

stage of litigation).) Likewise, Whitepages’ early motion for summary judgment was filed on

substantially the same record, with the only addition being Lukis’s background report. (ECF 88

at 2.) The Court carefully limited its ruling to “the summary judgment record,” which at that time

did not have the benefit of any discovery or the testimony that has since come to light. (See, e.g.,

ECF 88 at 7, 12, 15, 17.) Far from constituting “victories on pivotal legal issues,” as Lukis asserts

(ECF 103 at 5), those rulings are limited to an analysis of Lukis’s pleadings. Lukis will suffer no

prejudice from an arbitrator evaluating for the first time how a full factual record affects her claim.

       C.      Lukis is bound to Whitepages’ Terms through her counsel’s actions on her
               behalf and by her own conduct on Whitepages’ Web site.

               1.      Lukis admits that Mr. Costales was acting as her agent and does not
                       dispute that Mr. Costales’s actions in this litigation bound her.

       Whitepages moved on arbitrability as soon as it discovered that Mr. Costales, acting as

Lukis’s agent, bound Lukis to Whitepages Terms. (ECF 90 at 9-11.) Since then, both Lukis’s


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counsel and the Court have acknowledged that the factual aspects of the agency issue are

undisputed. During the December 10, 2020 hearing on Lukis’s motion for a protective order

related to the deposition of Mr. Costales, Mr. Costales noted, “We do admit that on July 21st, 2020,

plaintiff’s counsel agreed to the terms of use produced by Whitepages in the process of opposing

defendant’s motion for summary judgment.” (Ex. B at 12:19-23.) Likewise, the Court stated:

       I don't think that there are any open or disputed factual questions that the defendant
       needs to obtain in a deposition from Mr. Costales that pertains to the agency issue
       that the defendant raised in its motion to compel arbitration. Even if Mr. Costales
       hadn't admitted that he went beyond the pay wall for purposes of this case, I think
       it's pretty clear from the chronology that that's exactly what happened. As to the
       legal significance of that, I don't know what the legal significance of that is. But in
       terms of the facts, I think the facts are pretty clear.

(Id. 15:22-16:8.)



                                                                                          There is no

factual dispute that Mr. Costales, in his capacity as agent for Lukis, accepted Whitepages’ Terms.

       As to the legal significance of that conduct, Lukis does not dispute in her response to the

Motion for Arbitration that Mr. Costales, as her agent, bound her to Whitepages’ Terms. See

Indep. Living Res. Ctr. San Francisco v. Uber Techs, Inc., 2019 WL 3430656, at *4 (N.D. Cal.

July 30, 2019). Because Lukis does not respond to this argument or address the agency issue, she

has forfeited it. See Kendall Mfg. Co. v. Cooper Lighting, LLC, 354 F. Supp. 3d 877, 883 (N.D.

Ill. 2018) (Feinerman, J.) (collecting cases). Accordingly, Mr. Costales agreed on Lukis’s behalf

to arbitrate Lukis’s claims on an individual basis and the Motion for Arbitration should be granted.

               2.      Lukis accepted Whitepages’ Terms by using Whitepages’ Web site.

       In addition to the agency issue, Whitepages learned through discovery after filing its




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Motion for Arbitration that Lukis also agreed to Whitepages’ Terms through her own conduct. 5

Unfortunately, Lukis’s written discovery responses and deposition testimony on this issue have

been brutally inconsistent and often false, frustrating Whitepages’ ability to determine the full

extent of her interactions with Whitepages.com. (See ECF 122 at 11-12.)




5
 In anticipation of discovering these facts, Whitepages noted in its Motion for Arbitration that it
may raise arguments related to Lukis’s own conduct at the appropriate time. (ECF 90 at 9 n.5.)

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    Lukis’s testimony is facially incredible.




    In light of the foregoing, Lukis has knowingly agreed to be bound by Whitepages’ Terms.




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                                                                                              See

Gutierrez v. FriendFinder Networks, Inc., 2019 WL 1974900, at *7 (N.D. Cal. May 3, 2019)

(granting motion to compel arbitration on browsewrap terms based on the plaintiff’s “inquiry

notice” of the terms, even though he had never read the terms).

               3.




       D.      This dispute is within the scope of Whitepages’ arbitration agreement.

       Lukis does not contend that her claim is outside the scope of Whitepages’ arbitration

agreement. (See generally ECF 103.) By failing to raise that argument, Lukis has forfeited it, and

the Court should not consider scope as a basis to deny Whitepages’ Motion for Arbitration. See


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Kendall Mfg. Co., 354 F. Supp. 3d at 883. However, despite Lukis’s forfeiture, Whitepages will

address the scope issue because the Court raised it sua sponte during a recent hearing. (Ex. B,

Dec. 10, 2020 Trans. at 16:15:17:8.) By doing so, Whitepages does not waive its primary argument

that scope is for the arbitrator, not the Court, to decide. (ECF 90 at 12.)

       The scope of arbitrable disputes as set forth in Whitepages’ Terms is as follows:

       ANY DISPUTE, CLAIM OR CONTROVERSY BETWEEN YOU AND
       WHITEPAGES RELATING IN ANY WAY TO THIS AGREEMENT OR YOUR
       ACCESS TO OR USE OF THE SERVICES OR CONTENT, WHETHER BASED
       IN CONTRACT, STATUTE, REGULATION, ORDINANCE, TORT
       (INCLUDING, WITHOUT LIMITATION, FRAUD, MISREPRESENTATION,
       FRAUDULENT INDUCEMENT, OR NEGLIGENCE), OR ANY OTHER
       LEGAL OR EQUITABLE THEORY (“DISPUTE”).

(Terms § 12.10.) Thus, there are two categories of arbitrable disputes: (1) disputes relating in any

way to Whitepages’ Terms; and (2) disputes relating in any way to the access to or use of

Whitepages’ services or content. Whitepages’ arbitration provision is “extremely broad.” See

United Steel, Paper & Forestry, Rubber, Mfg., Energy, Allied Indus. & Serv. Workers Int’l Union

v. Trimas Corp., 531 F.3d 531, 536-37 (7th Cir. 2008) (provision encompassing “any alleged

violation or dispute involving the terms” was “extremely broad”); ValuePart, Inc. v. Farquhar,

2014 WL 4923179, at *7 (N.D. Ill. Sept. 29, 2014) (each of the phrases “in respect of,” “arising

out of,” and “relating to” are extremely broad). The provision also includes all statutory claims,

necessarily including the Illinois Right of Publicity Act, 765 ILCS 1075/1, et seq. (“IRPA”).

       Lukis’s claim fits both categories of arbitrable disputes. First, Lukis’s claim relates to

Whitepages’ Terms, which together with the Privacy Policy (incorporated into the Terms) govern

the use of Whitepages’ Web site and the information available through it. For instance, the Terms

provide that Whitepages “may provide publicly available sources of information aggregated for

your convenience, including but not limited to, court, voter registration, property and license



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records” that is “made available to you through the Services and is provided for information

purposes only.” (Terms at § 4.2.) That provision goes directly to the heart of Lukis’s claim under

IRPA related to the publication of her publicly available information. Further, the Terms provide

that Whitepages may make advertisements available on its Web site, which relates to the alleged

use of Lukis’s “identity” for advertising purposes under IRPA. (Terms at § 7.1.) And the Terms

provide a clear opt-out policy that Lukis could have availed herself of to ensure that her

information was no longer available via Whitepages’ site. (Terms at § 9.)

        Second, Lukis’s claim relates to the use of Whitepages’ services. The fundamental

allegation in the Complaint is that Whitepages used Lukis’s identity to advertise its services.




That claim relates directly to the access and use of Whitepages’ services and is within the scope

of the arbitration provision. 6

III.    CONCLUSION

        The Court—consistently with and pursuant to 9 U.S.C. § 4— should dismiss Lukis’s

complaint based on forum non conveniens or, in the alternative, transfer this matter to the United

States District Court for the Western District of Washington pursuant to 28 U.S.C. § 1404(a).




6
  To the extent there is ambiguity in Whitepages’ Terms, it is resolved in favor of arbitration.
IBEW Local 2150 v. NextEra Energy Point Beach, LLC, 762 F.3d 592, 594 (7th Cir. 2014).

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Dated: January 29, 2021                            Respectfully submitted,

                                                   WHITEPAGES, INC.


                                                   By:    /s/ Blaine C. Kimrey
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 29, 2021, a copy of the foregoing was electronically filed

in the ECF system. Notice of this filing will be sent to the parties of record by operation of the

Court’s electronic filing system.



                                                 /s/ Blaine C. Kimrey
                                                 Blaine C. Kimrey




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